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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

   Case No.        CV 20-10051 MWF (PVCx)                                   Date: September 26, 2022
   Title       James Shayler v. MMWH Group LLC, et al.


   Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                      Rita Sanchez                                        Not Reported
                      Deputy Clerk                                  Court Reporter / Recorder

           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                    Not Present                                        Not Present

   Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

         The Court has reviewed Defendants’ Application for the Court to Issue an
   Order to Show Cause as to Plaintiff’s Failure to Appear at Mediation (the
   “Application”), filed September 9, 2022, and the Mediation Report, filed
   September 12, 2022. (Docket Nos. 102 and 103). The mediator, Daniel A. Platt,
   presided at this mediation as a member of the Court’s Attorney Settlement Officer
   Panel. Based on the Application and Mediation Report, it appears that Plaintiff
   James Shayler failed to appear at the mediation held on September 9, 2022.

           Local Rule 16-15.5(b) states:

                    APPEARANCE BY PARTY – Each party shall appear at the
                    settlement proceeding in person or by a representative with final
                    authority to settle the case ….

         The Court ORDERS Plaintiff to show cause in writing why this action
   should not be dismissed for failure to prosecute and to comply with Court orders.
   A response of no more than six pages must be filed on or before October 7, 2022.

         No oral argument on this matter will be heard unless otherwise ordered by
   the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
   submitted upon the filing of the response to the Order to Show Cause. Failure to


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   respond to the Order to Show Cause by October 7, 2022 will result in the
   dismissal of this action.

           IT IS SO ORDERED.

                                                                Initials of Preparer: RS/sjm




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